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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No. 1:19-cv-03488-STV

KIMBERLY LACHUT,

       Plaintiff,

       v.

CARBONITE, INC., STEVE MUNFORD,
LINDA CONNLY, SCOTT DANIELS,
DAVID FRIEND, CHARLES KANE,
TODD KRASNOW, and MARINA LEVINSON,

      Defendants.
______________________________________________________________________________

NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
______________________________________________________________________________

       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Kimberly Lachut hereby voluntarily dismisses the above-captioned

action without prejudice. Defendants have not served an answer or a motion for summary

judgment.



Dated: January 2, 2020                          Respectfully submitted,

                                                HALPER SADEH LLP

                                                /s/ Daniel Sadeh
                                                Daniel Sadeh, Esq.
                                                375 Park Avenue, Suite 2607
                                                New York, NY 10152
                                                Telephone: (212) 763-0060
                                                Facsimile: (646) 776-2600
                                                Email: sadeh@halpersadeh.com

                                                Counsel for Plaintiff



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                                CERTIFICATE OF SERVICE

        I, Daniel Sadeh, hereby certify that on January 2, 2020, a true and correct copy of the
annexed NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P.
41(a)(1)(A)(i) was served in accordance with the Federal Rules of Civil Procedure with the Clerk
of the Court using the CM/ECF system, which will send a notification of such filing to all parties
with an email address of record who have appeared and consented to electronic service in this
action.


Dated: January 2, 2020                       /s/ Daniel Sadeh
                                             Daniel Sadeh




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